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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
In re:                                                                  :         Chapter 11
                                                                        :
LEXINGTON PRECISION CORP., et al.,                                      :         Case No. 08-11153 (SCC)
                                                                        :
                           Debtors.                                     :         (Jointly Administered)
                                                                        :
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              ORDER PURSUANT TO SECTIONS 105, 502, 1125, 1126, AND
             1128 OF THE BANKRUPTCY CODE AND THE BANKRUPTCY
         RULES 2002, 3003, 3017, 3018 AND 3020 (I) APPROVING THE PROPOSED
          DISCLOSURE STATEMENT, (II) APPROVING THE PROCEDURES TO
          SOLICIT ACCEPTANCES OF DEBTORS’ PROPOSED PLAN, AND (III)
       SCHEDULING A HEARING AND ESTABLISHING NOTICE AND OBJECTION
       PROCEDURES FOR CONFIRMATION OF THE DEBTORS’ PROPOSED PLAN

                    Upon the motion, dated October 24, 2008, and the supplements thereto filed on

October 6, 2009 and April 19, 2010 (collectively, the “Motion”),1 of Lexington Precision

Corporation and Lexington Rubber Group, Inc. (together, the “Debtors”), pursuant to

sections 105, 502, 1125, 1126 and 1128 of title 11 of the United States Code (the “Bankruptcy

Code”) and Rules 2002, 3003, 3017, 3018 and 3020 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), to (i) approve of the Debtors’ proposed disclosure

statement (as modified, the “Disclosure Statement”) for the Debtors’ fourth amended chapter 11

plan (as it may be amended or modified, the “Proposed Plan”), (ii) approve certain solicitation

procedures for the Proposed Plan; and (iii) schedule a confirmation hearing (the “Confirmation

Hearing”) and establish certain notice and objection procedures in connection therewith, all as

more fully set forth in the Motion; and the Court having jurisdiction to consider the Motion and

the relief requested therein being a core proceeding pursuant to 28 U.S.C. §§ 157 and 1334; and


1
    Capitalized terms not otherwise defined herein have the meanings set forth in the Motion.



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venue being proper before the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409; and a

hearing having been held on May 26, 2010 (the “Disclosure Statement Hearing”) to consider

the Motion; and the Debtors having provided notice of the Disclosure Statement Hearing as

described in the Motion; and the Court having reviewed the Disclosure Statement, the Motion,

the papers in support thereof, and the responses thereto, if any; and upon the Disclosure

Statement, the Motion, the papers in support thereof and the responses thereto, if any, and the

record of the Disclosure Statement Hearing and upon all of the proceedings heretofore before the

Court,

THE COURT HEREBY FINDS AND DETERMINES THAT:

                    A.         The Disclosure Statement contains “adequate information” about the

Debtors’ Proposed Plan within the meaning of section 1125 of the Bankruptcy Code.

                    B.         Notice of the Disclosure Statement, the Motion, the Hearing, and the

deadline for filing objections to the Disclosure Statement was properly provided to all interested

parties and such notice was due and proper and no further notice is necessary.

                    C.         Classes 1 (Other Priority Claims against LPC), Class 3 (Secured Tax

Claims against LPC), Class 4 (Other Secured Claims against LPC), Class 8 (Convenience Claims

against LPC), Class 13 (Other Priority Claims against LRGI), Class 15 (Secured Tax Claims

against LRGI), Class 16 (Other Secured Claims against LRGI), Class 18 (Convenience Claims

against LRGI), and Class 19 (Interests in LRGI) (collectively, the “Unimpaired Classes”) are

unimpaired and are conclusively presumed to accept the Proposed Plan. Accordingly, members

of the Unimpaired Classes are not entitled to vote or receive a Ballot.

                    D.         The Proposed Plan impairs Class 2(a) (CapitalSource Secured Claims

against Lexington Precision), Class 2(b) (CSE Secured Claims against Lexington Precision),

Class 5 (Senior Subordinated Notes Claims against Lexington Precision), Class 6 (Junior


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Subordinated Note Claims against Lexington Precision), Class 7 (General Unsecured Claims

against Lexington Precision), Class 9 (Asbestos-Related Claims against Lexington Precision),

Class 10 (Series B Preferred Stock Interests), Class 14(a) (CapitalSource Secured Claims against

Lexington Rubber Group), Class 14(b) (CSE Secured Claims against Lexington Rubber Group),

and Class 17 (General Unsecured Claims against Lexington Rubber Group) (collectively, the

“Voting Classes”). Accordingly, members of the Voting Classes are entitled to vote and receive

an appropriate Ballot; provided, however, holders of claims in Classes 2, 5-7, 9, 14 and 17 shall

not be entitled to vote and receive a Ballot if (i) as of the Voting Record Date, the outstanding

amount of such claim is not greater than zero ($0.00); (ii) as of the Voting Record Date, such

claim has been disallowed, expunged, disqualified, or suspended; (iii) the Debtors’ Schedules

show such claim as contingent, unliquidated, or disputed and a proof of claim was not filed by

the Bar Date or Government Bar Date, as applicable, or deemed timely filed by order of the

Court at least five (5) business days prior to the Voting Deadline; or (iv) as of the Voting Record

Date, such claim is subject to a pending objection.

                    E.         The Proposed Plan also impairs Class 11 (LPC Common Stock Interests)

and Class 12 (Other Equity Interests in LPC) (together, the “Deemed to Reject Classes,” and

with the Unimpaired Classes, the “Non-Voting Classes”). Because the Deemed to Reject

Classes will not receive a distribution under the Plan, pursuant to section 1126(g) of the

Bankruptcy Code, the Deemed to Reject Classes are presumed to have voted to reject the

Proposed Plan and, as a result, are not entitled to vote or to receive a Ballot.

                    F.         The forms of the Ballots and related election form that are attached hereto

as Exhibits A-1A through A-4B are consistent with Official Form No. 14, address the particular




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needs of these chapter 11 cases, and are appropriate for each class of Claims and Interests

entitled to vote to accept of reject the Proposed Plan.

                    G.         The voting instructions attached to each of the ballots contain adequate

information to instruct all members of the Voting Classes how to vote.

                    H.         The Voting Deadline of Friday July 2, 2010 at 5:00 p.m. (Eastern

Daylight Time) provides reasonable and adequate time for all parties in interest to make an

informed decision to accept or reject the Proposed Plan.

                    I.         The procedures for the solicitation and tabulation of votes to accept or

reject the Proposed Plan (as more fully set forth in the Motion and below) provide for a fair and

equitable voting process and are consistent with section 1126 of the Bankruptcy Code.

                    J.         The notice procedures set forth below provide due, proper, and adequate

notice of approval of the Disclosure Statement, the Confirmation Hearing, and the procedures for

filing objections or responses to the Proposed Plan and comply with Bankruptcy Rules 2002

and 3017(d).

                    K.         The Debtors have the right to seek modifications or extensions of the

matters governed by this Order.

                    L.         The relief requested in the Motion is in the best interests of the Debtors,

their estates, their creditors, and all parties in interest therein.

                    M.         The legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein.

NOW, THEREFORE, IT IS ORDERED THAT:

                    1.         The Motion is GRANTED as provided herein.




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The Debtors’ Disclosure Statement

                    2.         The Disclosure Statement, as it may have been or may be further modified

to reflect changes made or ordered on the record of the hearing, is APPROVED.

The Solicitation Procedures

          Temporary Allowance of Claims

                    3.         Solely for the purposes of voting to accept or reject the Proposed Plan and

not for allowance of, or distribution on account of, any claim or interest, and without prejudice to

the Debtors’ rights in any other context, each claim of a holder of a claim entitled to vote is

temporarily allowed in the amount equal to the amount in the Schedules; provided, however,

                    (a)        if a claim holder has timely and properly filed a proof of claim, the holder
                               may vote the claim amount set forth in the proof of claim subject to any
                               applicable limitation below;

                    (b)        if the claim for which a proof of claim has been timely filed is partially
                               liquidated and partially unliquidated, such claim is temporarily allowed for
                               voting purposes in the liquidated amount only;

                    (c)        if the Court estimates or otherwise allows a claim for voting purposes,
                               such claim is temporarily allowed in the amount so estimated or allowed
                               by the Court for voting purposes only, and not for purposes of allowance
                               or distribution;

                    (d)        if the Debtors’ Schedules list a claim as contingent, unliquidated, or
                               disputed and a proof of claim was not

                               (1)    filed by the Bar Date or Government Bar Date, as applicable, or

                               (2)    deemed timely filed by an order of the Court prior to the Voting
                                      Deadline

                               (3)    such claim is disallowed for voting, allowance, and distribution
                                      purposes pursuant to Bankruptcy Rule 3003(c) absent the Debtors’
                                      written consent to the contrary;

                    (e)        if a holder of a claim on the Debtors’ Schedules is listed as not contingent,
                               unliquidated, or disputed and such holder files an untimely proof of claim,
                               such claim shall be allowed for voting, allowance, and distribution
                               purposes in the amount set forth in the Schedules;



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                    (f)        if the Debtors serve an objection to a claim at least ten (10) days before
                               the Voting Deadline, such claim is temporarily disallowed for voting
                               purposes only, but not allowance or distribution purposes, except to the
                               extent and in the manner as may be set forth in such objection;

                    (g)        each Asbestos-Related Claims (as defined in the Plan) in Class 9 shall be
                               allowed in the amount of $1.00; and

                    (h)        if a claim for which a proof of claim has been timely filed is marked as
                               wholly contingent, unliquidated or disputed on its face, or the Debtors
                               determine, after reasonable review of the Claim (including any supporting
                               documentation contained therewith), is wholly contingent, unliquidated or
                               disputed; such claim will be temporarily allowed for voting purposes in
                               the amount of $1.00.

                    4.         If any creditor seeks to challenge the allowance of its claim for voting

purposes in accordance with the above procedures, such creditor shall serve on the Debtors, the

Creditors’ Committee, and the U.S. Trustee and file with the Court (with a copy to Chambers) a

motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such claim in a

different amount for purposes of voting to accept or reject the Proposed Plan on or before the

tenth (10th) day after the later of (i) service of notice of the Confirmation Hearing and (ii) the

Debtors’ service of notice of an objection or request for estimation, if any, as to such claim. For

any creditor filing such a motion, such creditor’s Ballot shall not be counted unless temporarily

allowed by an order entered by the Court prior to the Voting Deadline.

          Fixing the Voting Record Date

                    5.         The Voting Record Date is Wednesday May 26, 2010 at 5:00 p.m.

(Eastern Daylight Time). Holders of claims and interests, as of the Voting Record Date and as

determined by the Debtors’ books and records, shall be the holders of record and, as such, shall

be entitled to vote or otherwise receive a notice of non-voting status. Any claim transfer notices

received by the Debtors, Epiq, or the Solicitation Agent (i) prior to the Voting Record Date, but

with respect to which the twenty-one (21) day period required pursuant to Bankruptcy Rule



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3001(e)(4) has not expired prior to the Voting Record Date or (ii) after the Voting Record Date,

shall not be recognized for determining the holders of record.

          Solicitation Packages and the Distribution Procedures Therefor

                    6.         With the exception of certain holders of Asbestos-Related Claims in

Class 9 identified in the subsequent decretal paragraph, the Debtors shall send each member of a

Voting Class:

                    (a)        the order approving the Disclosure Statement;

                    (b)        the Confirmation Hearing Notice;

                    (c)        the Disclosure Statement, which shall include the Proposed Plan as an
                               exhibit;

                    (d)        a Ballot customized for such holder as described below with instructions
                               and a return envelope; and

                    (e)        such other materials as the Court may direct (collectively, the “Voting
                               Solicitation Package”).

                    7.         For any holder of an Asbestos-Related Claim represented by counsel who

has previously represented to the Debtors that such holder has authorized counsel to vote the

Asbestos-Related Claim on the holder’s behalf (“Authorized Counsel”), the Debtors shall send

such Authorized Counsel a Voting Solicitation Package on behalf of any such holder; provided,

however, if Authorized Counsel sends the Solicitation Agent and the Debtors within seven (7)

days after service of this Order an affidavit indicating the name and address of each holder of an

Asbestos-Related Claim represented by such Authorized Counsel for whom Authorized Counsel

is not authorized to vote (a “No Authorization Affidavit”), the Debtors or the Solicitation Agent

shall send the holder of an Asbestos-Related Claim listed on the No Authorization Affidavit a

Voting Solicitation Package within seven (7) days after receipt of the No Authorization

Affidavit.



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                    8.         To any holder of an Asbestos-Related Claim not represented by

Authorized Counsel, the Debtors shall send a Voting Solicitation Package within seven (7) days.

                    9.         To each holder of a Claim or Interest not entitled to vote, the Debtors shall

send:

                    (a)        the order approving the Disclosure Statement;

                    (b)        the Confirmation Hearing Notice;

                    (c)        a Notice of Non-Voting Status; provided, however, the Debtors shall
                               provide such holder a Proposed Disclosure Statement upon written
                               request; and

                    (d)        such other materials as the Court may direct (collectively, the “Non-
                               Voting Solicitation Package”)

                    10.        If holder of a Claim is not entitled to vote as a result of a pending

objection, the Debtors shall supplement the Non-Voting Solicitation Package and include a

Disclosure Statement. If the pending claim objection is resolved or withdrawn and the holder of

the claim becomes eligible to vote at least ten (10) business days prior to the Voting Deadline,

the Debtors shall mail to such holder, via express or overnight mail, a Voting Solicitation

Package within three (3) business days after such member becomes eligible to vote.

                    11.        If a claim is allowed for voting purposes on or before ten (10) business

days before the Voting Deadline, the Debtors shall mail, via express or overnight mail, a Voting

Solicitation Package to the holder of such claim within three (3) business days after entry of an

order temporarily allowing such creditor’s claim for voting purposes.

                    12.        The Debtors shall distribute the following materials to (i) the U.S. Trustee,

(ii) the attorneys for the Creditors’ Committee. and (iii) all parties requesting services in these

chapter 11 cases (unless already receiving a Voting Solicitation Package):

                    (a)        the order approving the Disclosure Statement;



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                    (b)        the Confirmation Hearing Notice;

                    (c)        the Disclosure Statement, which shall include the Proposed Plan as an
                               exhibit; and

                    (d)        such other materials as the Court may direct (collectively, the “Notice
                               Solicitation Package” together with the Voting and Non-Voting
                               Solicitation Packages, the “Solicitation Packages”)

                    13.        The Debtors shall send the Solicitation Packages in a CD-ROM format

instead of printed hard copies; provided, however, that (i) the Confirmation Hearing Notice and

the Ballots shall be included as hard copies, and (ii) the Debtors shall provide printed hard copies

upon request.

                    14.        Except as provided above, the Debtors shall mail each of the Solicitation

Packages described above within seven (7) days of entry of this Order (the “Solicitation Date”)

to the mailing address listed in the Debtors’ books and records as of the Record Date. If the

Debtors’ books and records reflect multiple addresses for any individual, the Debtors shall send

the appropriate Solicitation Packages to the primary address, and a notice informing such parties

that the Solicitation Package containing the individual’s applicable Ballot was sent to an

alternate address and to contact the Voting Agent, if necessary, to send the applicable materials

to a different address.

                    15.        The Debtors shall send Solicitation Packages only to known deliverable

addresses; provided, however, the Debtors shall send a Solicitation Package to any entity who

provides written notice of a new mailing address or forwarding addresses prior to the Solicitation

Date.

          Form of Ballots and Master Ballots

                    16.        The Ballots are APPROVED.




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                    17.        To each member of Class 2(a) (CapitalSource Secured Claims against

LPC), Class 2(b) (CSE Secured Claims against LPC), Class 7 (General Unsecured Claims

against LPC), Class 14(a) (CapitalSource Secured Claims against LRGI), Class 14(b) (CSE

Secured Claims against LRGI), and Class 17 (General Unsecured Claims against LRGI), the

Debtors shall send a ballot (a “General Ballot”) substantially in the form of Exhibits A-1A, A-

1B or A-3, as applicable.

                    18.        The General Ballots shall provide members of Class 7 (General Unsecured

Claims against LPC) and Class 17 (General Unsecured Claims against LRGI) an option to

(a) elect to reduce the amount of their claim to $2,000.00. Creditors are not required to vote to

accept the Proposed Plan to exercise such an election. Upon a creditor electing to reduce its

Claim to $2,000.00, the Claim shall automatically be reclassified as a Convenience Claim in

either Class 8 (Convenience Class Claims against LPC) or Class 18 (Convenience Class Claims

against LRGI), as appropriate, and the creditor shall no longer be eligible to vote.

                    19.        The General Ballots shall also provide members of Class 7 (General

Unsecured Claims against LPC) and Class 17 (General Unsecured Claims against LRGI) an

option to elect the Class 7 Cash Election (as defined in the Proposed Plan) and Class 17 Cash

Election (as defined in the Proposed Plan). If a holder of a claim in Class 7 or Class 17 elects the

Class 7 Cash Election or Class 17 Cash Election, as applicable, such election shall be deemed to

have been made with respect to all Claims in Class 7 or Class 17, as applicable, held by such

holder.

                    20.        If a member of Class 7 (General Unsecured Claims against LPC) or Class

17 (General Unsecured Claims against LRGI) elect both to reduce its Claim to $2,000.00 and a




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Class 7 Cash Election or Class 17 Cash election, as applicable, such member shall be deemed to

have elected to reduce its Claim to $2,000.00.

                    21.        To each member of Class 5 (Senior Subordinated Note Claims) who holds

Senior Subordinated Notes for their own benefit, the Debtors shall send a ballot (a “Beneficial

Holder Ballot”), substantially in form of Exhibit A-2A.

                    22.        If member of Class 5 (Senior Subordinated Note Claims) holds Senior

Subordinated Notes for the benefit of a third-party (e.g., brokers, banks, dealers, or other agents

or nominees) (collectively, the “Voting Nominees”), the Debtors shall provide the Voting

Nominee with sufficient Solicitation Packages for distribution to each of the beneficial holders

represented by the Voting Nominee.

                    23.        The Voting Nominee may elect to (i) “prevalidate” the Ballot contained in

the Solicitation Package, forward the Solicitation Package to the beneficial holder, and instruct

the beneficial holder to return the ballot to the Solicitation Agent or (ii) forward the Solicitation

Package to the beneficial holder with instructions for the beneficial holder to return the ballot to

the Voting Nominee, the Voting Nominee shall tabulate the ballots on a master ballot,

substantially in form of Exhibit A-2B (each a “Master Ballot,” and collectively, the “Master

Ballots”), and return the Master Ballot to the Solicitation Agent. 2 To be prevalidated, a Ballot

shall indicate the name and address of the beneficial holder, the amount of the underlying

securities, and the corresponding account numbers. In either instance, the Voting Nominee shall

provide the beneficial holder with the appropriate materials within five (5) business days of

receipt of the Solicitation Packages.


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  Consistent with securities industry practice in bankruptcy solicitations, the Debtors shall provide Master Ballots to
Voting Nominees after the Debtors distribute the Solicitation Packages and the Voting Nominee indicates how it
intends to proceed.



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                    24.        The Debtors shall also send each member of Class 5 (Senior Subordinated

Note Claims) or their Voting Nominee, as appropriate, a stock election form, substantially in the

form of Exhibit A-2C (each a “Stock Election Form,” and collectively, the “Stock Election

Forms”), to make the Class 5 Stock Election (as defined in the Proposed Plan). The holder of

Class 5 (Senior Subordinated Note Claims) and/or their Voting Nominee shall follow the

procedures established by the Solicitation Agent with respect to electronic delivery of the

holder’s underlying position, which deliveries shall remain in effect until final distributions are

made under the Plan.

                    25.        To be counted, the Ballots, Master Ballots, or Stock Election Forms, as

applicable, shall be received in accordance with the voting procedures outlined below.

                    26.        The Debtors shall reimburse each Voting Nominee for its reasonable and

customary costs and expenses associated with the distribution of the Voting Packages and

tabulation of the Beneficial Holders Ballots.

                    27.        For members of Class 9 (Asbestos-Related Claims) not represented by

Authorized Counsel, the Debtors shall send a Ballot substantially in the form of Exhibit A-4A

(the “Individual Asbestos Ballot”).

                    28.        For members of Class 9 (Asbestos-Related Claims) represented by

Authorized Counsel, the Debtors shall provide such Authorized Counsel with a master ballot

substantially in the form of Exhibit A-4B (the “Asbestos Master Ballot”); provided, however, if

Authorized Counsel sends the Debtors and the Solicitation Agent a No Authorization Affidavit

within seven (7) days after service of this Order, the Debtors shall send such holder an

Individual Asbestos Ballot.




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          Voting and Tabulation Procedures

                    Voting Deadline

                    29.        In order to be counted as a vote to accept or reject the Proposed Plan, each

Ballot shall be properly executed, completed, and delivered to the Solicitation Agent as to be

received by Solicitation Agent no later than the Voting Deadline of Friday July 2, 2010 at

5:00 p.m. (Eastern Daylight Time).

                    Procedures to Tabulate Votes

                    30.        The Debtors propose the following procedures for tabulating votes:

                    (a)        A vote shall be disregarded if the Court determines, after notice and a
                               hearing, that a vote was not solicited or procured in good faith or in
                               accordance with the provisions of the Bankruptcy Code;

                    (b)        All votes to accept or reject the Proposed Plan must be cast by using the
                               appropriate Ballot and in accordance with the voting instructions attached
                               to each Ballot and/or as set forth on the Ballot (as may be applicable) and
                               votes cast in any other manner shall not be counted;

                    (c)        Any Ballot that is returned to the Solicitation Agent, but which is
                               unsigned, or has a non-original signature, shall not be counted;

                    (d)        A holder of multiple claims or interests must use a separate Ballot for each
                               class of claims or interests;

                    (e)        A holder of claims shall be deemed to have voted the full amount of its
                               claims in each class and shall not be entitled to split its vote within a
                               particular class;

                    (f)        Any Ballot that partially accepts and partially rejects the Proposed Plan
                               shall be deemed to constitute an acceptance of the Proposed Plan;

                    (g)        Any entity entitled to vote to accept or reject the Proposed Plan may
                               change its vote before the Voting Deadline by casting a superseding Ballot
                               so that it is received on or before the Voting Deadline;

                    (h)        Any entity casting more than one (1) Ballot voting the same claim or
                               interest prior to the Voting Deadline, the Solicitation Agent shall count
                               only the last Ballot timely received;




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                    (i)        If the Solicitation Agent receives Ballots on the same day but which are
                               voted inconsistently, such Ballots shall be deemed to constitute an
                               acceptance of the Proposed Plan;

                    (j)        Any executed Ballot timely received by the Solicitation Agent that does
                               not indicate either an acceptance or rejection of the Proposed Plan shall be
                               deemed to constitute an acceptance of the Proposed Plan;

                    (k)        Any executed Ballot, which indicates both acceptance and rejection of the
                               Proposed Plan shall be deemed to constitute an acceptance of the Proposed
                               Plan;

                    (l)        The vote of any member of Class 7 (General Unsecured Claims against
                               LPC) or Class 17 (General Unsecured Claims against LRGI) who elects to
                               reduce their claim to $2,000.00 shall not be counted; and

                    (m)        The Solicitation Agent shall not accept a vote by facsimile, telecopy
                               transmission, or electronic mail.

                    31.        With respect to the tabulation of Master Ballots cast by Voting Nominees,

for purposes of voting, the Solicitation Agent shall use the principal amount held as of Voting

Record Date, as applicable (the “Record Amount”).

                    32.        The following additional rules will apply to the tabulation of Master

Ballots cast by Voting Nominees:

                    (a)        Votes cast by beneficial holders through a Voting Nominee will be applied
                               against the positions held by such entities in the securities as of Voting
                               Record Date as evidenced by the record and depository listings. Votes
                               submitted by a Voting Nominee, whether pursuant to a Master Ballot or
                               prevalidated Ballots, will not be counted in excess of the Record Amount
                               of such securities held by such Voting Nominee.

                    (b)        To the extent that conflicting votes or “overvotes” are submitted by a
                               Voting Nominee, whether pursuant to a Master Ballot or prevalidated
                               Ballots, the Solicitation Agent will attempt and is authorized to reconcile
                               discrepancies with the Voting Nominees.

                    (c)        To the extent that overvotes on a Master Ballot or prevalidated Ballots are
                               not reconcilable prior to the preparation of the vote certification, the
                               Solicitation Agent will apply the votes to accept and to reject the Proposed
                               Plan in the same proportion as the votes to accept and reject the Proposed
                               Plan submitted on the Master Ballot or prevalidated Ballots that contained




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                               the overvote, but only to the extent of the Voting Nominee’s position in
                               the security.

                    (d)        For purposes of tabulating votes, each Voting Nominee will be deemed to
                               have voted the principal amount relating to such security, although
                               Solicitation Agent may be asked and is authorized to adjust such principal
                               amount to reflect the claim amount, including prepetition interest.

          Notice of Non-Voting Status

                    33.        The Notice of Non-Voting Status, attached hereto as Exhibit B, is

APPROVED.

                    34.        The Debtors shall send a Notice of Non-Voting Status to each holder of a

claim or interest not entitled to vote.

The Confirmation Hearing and the Notice and Objection
Procedures in Respect of Confirmation of the Proposed Plan

          The Confirmation Hearing

                    35.        The Confirmation Hearing is scheduled for Wednesday July 14, 2010 at

10:00 a.m. (Eastern Daylight Time). The Confirmation Hearing may be continued from time

to time by the Court or the Debtors without further notice other than adjournments announced in

open court at the Confirmation Hearing or any subsequent adjourned Confirmation Hearing or

any notice of adjournment filed with the Court and served on the master service list in these

cases and any party that filed objections to the Proposed Plan and that the Proposed Plan may be

modified pursuant to section 1127 of the Bankruptcy Code prior to, during, or as a result of the

Confirmation Hearing, in each case without further notice to parties in interest.

          Notice of the Confirmation Hearing

                    36.        The Confirmation Hearing Notice, a form of which is attached hereto as

Exhibit C, is APPROVED.




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          Objections to Confirmation of the Proposed Plan

                    37.        Objections or responses to confirmation of or proposed modifications to

the Proposed Plan, if any, shall (i) be in writing; (ii) conform to the Bankruptcy Rules and the

Local Rules for the United States Bankruptcy Court for the Southern District of New York; and

(iii) set forth the name of the objecting party, the basis for the objection, and the specific grounds

therefor.

                    38.        All objections and responses to the confirmation of or proposed

modifications to the Proposed Plan shall be filed with the Court no later than the Objection

Deadline (Friday July 2, 2010 at 5:00 p.m. (Eastern Daylight Time)). In accordance with

General Order M-242, registered users of the Court’s case filing system must electronically file

their objections and responses. All other parties in interest must file their objections and

responses on a 3.5 inch floppy disk (preferably in Portable Disk Format (PDF), WordPerfect, or

any other Windows-based word processing format) and deliver a hard copy to Chambers.

                    39.        All objections and responses shall be served, so as to be received no later

than Friday July 2, 2010 at 5:00 p.m. (Eastern Daylight Time), upon: (i) the Debtors,

Lexington Precision Corporation, 800 Third Ave. 15th Floor, New York, New York 10023

(Attn: Michael A. Lubin), (ii) the attorneys for the Debtors, Weil, Gotshal & Manges LLP, 767

Fifth Avenue, New York, New York 10153 (Attn: Richard P. Krasnow and Victoria Vron); (iii)

the Office of the United States Trustee for the Southern District of New York, 33 Whitehall

Street, 21st Floor, New York, New York 10004 (Attn: Paul K. Schwartzberg); (iv) the attorneys

for the Debtors’ prepetition lenders, Waller, Landsden, Dortch & Davis LLP, 511 Union Street,

Suite 2700, Nashville, Tennessee 37219 (Attn: John C. Tishler); (v) the attorneys for the

statutory committee of unsecured creditors, Andrews Kurth LLP, 450 Lexington Avenue, New

York, New York 10017 (Attn: Paul N. Silverstein and Jonathan I. Levine); and (vi) the attorneys


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for Debtors’ postpetition lenders, O’Melveny & Meyers, LLP, Times Square Tower, 7 Times

Square, New York, New York 10036 (Attn: Gerald Bender) and (vii) the attorneys for the plan

investor, Jones Day LLP, 222 East 41st, New York, New York (Attn: Lisa G. Laukitis) (the

“Notice Parties”).

                    40.        Objections not timely filed and served in accordance with the provisions

of this Order may be overruled on that basis alone.

                    41.        Any reply to any Objection shall be filed and served upon the objecting

party and the Notice Parties by 12:00 p.m. (Eastern Daylight Time) on Friday July 9, 2010.

                    42.        The Debtors are authorized to take or refrain from taking any action

necessary or appropriate to implement the terms of and the relief granted in this Order without

seeking further order of the Court.

                    43.        The Debtors are authorized to make nonmaterial changes to the Disclosure

Statement, Proposed Plan, Ballots, Confirmation Hearing Notice and related documents, without

further order of the Court, including, without limitation, changes to correct typographical and

grammatical errors and to make conforming changes among the Disclosure Statement, the

Proposed Plan, and any other materials in the Solicitation Package prior to their distribution.

                    44.        The Court hereby retains jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and/or enforcement of this Order.

Dated: May 26, 2010
       New York, New York
                                                     /s/Shelley C. Chapman
                                                     HONORABLE SHELLEY C.CHAPMAN
                                                     UNITED STATES BANKRUPTCY JUDGE




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